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UN|TED STATES D|STR|CT COURT
SOUTHERN D|STR|CT OF OH|O
EASTERN D|V|S|ON
Unverferth Mfg. Co. |nc.,
P|aintiff, Case No. 2:11-cv-184
v. Judge Michae| H. Watson
CrustBuster/Speed King |nc.,

Defendant.

ORDER

 

On June 26, 2012, the parties filed a stipulation of dismissal pursuant to Federal
Rule of Civil Procedure 41(a), dismissing this case with prejudice. The parties
requested the Court retain jurisdiction over this action for the purpose of enforcing the
settlement agreement. Stip. Dismissal, ECF No. 67. The Court will retain jurisdiction

over the matter for purposes of enforcing the settlement agreement, and the Clerk shall

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terminate the case pursuant to the parties’ stipulation of dismissal.

lT lS SO ORDERED.

